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                       AMENDED PROOF OF SERVICE
       I CURTIS E. SMOLAR, declare:
       I am over the age of 18 and not a party to the within action. My business address is 450
Townsend Street, Suite 207, San Francisco, CA 94107.
       On August 25, 2022, I served the following documents,

       STIPULATED DISMISSAL WITH PREJUDICE
 on each person or entity named below by email to their office, and by enclosing a copy in an
 envelope addressed as shown below and by sending it via US Mail to the following addresses:
Date and Place of mailing August 25, 2022, Palo Alto, CA

       Person(s) and/or Entity(ies) to Whom mailed:

Patrick T. Michael
Rebecca B. Horton
Hogan Lovells US LLP
3 Embarcadero Center, Suite 1500
San Francisco, CA 94111
Telephone No.: (415) 374-2300
Facsimile No.: (415) 374-2499
E-Mail: patrick.michael@hoganlovells.com
rebecca.horton@hoganlovells.com

Anna Kurian Shaw (Pro Hac Vice)
Lauren B. Cury (Pro Hac Vice)
Hadley M. Dreibelbis (Pro Hac Vice)
555 Thirteenth St., NW
Washington, DC 20004
Telephone: (202) 637-5600
Facsimile No: (202) 637-5910
Email:
anna.shaw@hoganlovells.com
lauren.cury@hoganlovells.com
hadley.dreibelbis@hoganlovells.com

Attorneys for Defendant Uber
Technologies, Inc.


I declare under penalty of perjury under the laws of the United States of America that the
foregoing is true and correct.
                      Executed on: August 25, 2022, at Palo Alto, CA



                                                     Curtis E. Smolar
